Case 3:18-cv-02258-FLW-ZNQ Document 24 Filed 07/09/19 Page 1 of 1 PageID: 74



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Attorneys for Plaintiff
                        TN THE UNITED STATED DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  SUSANNE LAFRANKIE-PRTNCIPATO,

                        Plaintiff(s),                    CIVIL ACTION

  vs.                                              DOCKET NO: 3:18-cv-0225$-FLW-LHG

  NEW JERSEY BOARD OF PUBLIC                       DISCOVERY ORDER
  UTILITIES; STATE OF NEW JERSEY
  and JOHN DOES 1-5 AND 6-10,

                        Defendant(s).


        This matter having come before the Court on July 8, 2019, and the Court having

considered the positions of the parties, any opposition thereto, and heard arguments of counsel,

and for other good cause shown:

        It is on this          day of July, 2019 hereby ORDERED as follows:

        1. Defendants’ request that Plaintiff produce records from her treatment with Dr.

            Cooperstein and Dr. Klein is DENIED.

        2. Defendants’ request that Plaintiff produce records within her possession relating to

            her son’s September 13, 2016 emergency room visit is GRANTED and Plaintiff shall

            produce the same within fourteen (14) days of the date of this Order.




                                                             dN.ai,U.S.MT
